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                                              Jessica Norton

                                              jnorton@raslg.com
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